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                    UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           WACO DIVISION


                                  §
                                  §
WAG ACQUISITION, L.L.C.,          §
                                  §
                    Plaintiff,    §
v.                                §   No. 6:21-cv-00816-ADA
                                  §
GOOGLE LLC and                    §   Jury Trial Demanded
YOUTUBE, INC.,                    §
                                  §
                    Defendants.   §


  WAG ACQUISITION, L.L.C.’S OPPOSITION TO DEFENDANTS’ MOTION FOR
DISMISSAL OF PLAINTIFF’S COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(6)
                   FOR FAILURE TO STATE A CLAIM
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I.     INTRODUCTION

       In their Motion to Dismiss (Dkt. No. 17, “Motion” or “Mot.”), Defendants Google LLC

and YouTube, Inc.1 (collectively, “Google”) make grandiose claims that Plaintiff WAG

Acquisition, L.L.C.’s (“WAG”) complaint (Dkt. No. 1, “Complaint”) is “astonishingly

deficient.” Mot. at 1. That is simply not the case. WAG’s Complaint contains clear and

systematic allegations that provide a clear factual and legal basis for Google to understand the

basis of the claims of infringement and the grounds upon which the claims are based.

       Google bases its motion on two arguments: first, that WAG’s infringement allegations

are allegedly conclusory, and second, that WAG allegedly did not sufficiently specify the

infringing services and/or systems. Both arguments fail because of Google’s lack of particularity.

Google fails to identify any specific claim limitation for which WAG allegedly fails to provide

sufficient factual evidence; Google shows no actual ambiguity in WAG’s detailed definition of

the accused YouTube Streaming Services.

       Moreover, Google misapprehends the plausibility standard under Iqbal and Twombly by

faulting WAG for allegedly failing to provide an element-by-element analysis that Google’s own

case law states is not required. Indeed, Google does not settle to mispresent WAG’s pleading

obligations; it even attempts to convert WAG’s Complaint into a claim chart, despite WAG’s

preliminary infringement contentions deadline having been weeks away at the time of Google’s

motion. In its concocted claim chart, Google further engages in an exercise of misdirection by

highlighting similarities between the claim language at issue and WAG’s infringement

allegations, while ignoring the very evidence of infringement Google purports to be missing

from WAG’s Complaint.


1
 Defendants note in their Rule 7.1 Disclosure and the Motion that the correct name for “YouTube,
Inc.” actually is YouTube, LLC. Dkt. No. 18 at 1 n.1; Mot. at 1 n.1.
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       Additionally, Google fails to address that WAG is due to serve its infringement

allegations on Google the very day that it is filing this opposition brief. Therefore, the Court

should deny this Motion as moot.

       Finally, even if the Court should find that WAG’s Complaint in some respect falls short

of the plausibility standard or that Google’s Motion is not moot, it should grant WAG leave to

amend its Complaint.

II.    PROCEDURAL BACKGROUND

       WAG filed its Complaint against Google on August 6, 2021. Dkt. No. 1. After an

unopposed 45-day extension (Dkt. No. 15), Google filed the instant Motion on November 1,

2021 (Dkt. No. 17).

       Per this Court’s Amended Standing Order Regarding Notice of Readiness for Patent

Cases, dated June 16, 2021 (“CRSR Order”), the Parties jointly filed the Case Readiness Status

Report on November 8, 2021. Dkt. No. 29. “Once the CRSR has been filed, the Case

Management Conference (“CMC”) shall be deemed to occur fourteen (14) days after the filing

date of the CRSR,” which is November 22, 2021. CRSR Order at 1. Further pursuant to this

Court’s Standing Order Governing Proceedings – Patent Cases, dated October 8, 2021, the

deadline for WAG to serve its preliminary infringement contentions is “[n]ot later than 7 days

before the CMC,” which is November 15, 2021. Dkt. No. 16.

III.   LEGAL STANDARD

       As the Federal Circuit recently reiterated in a case cited by Google in its Motion,

“patentees need not prove their case at the pleading stage.” Bot M8 LLC v. Sony Corp. of Am., 4

F.4th 1342, 1346 (Fed. Cir. 2021) (citing In re Bill of Lading Transmission & Processing Sys.

Patent Litig., 681 F.3d 1323, 1339 (Fed. Cir. 2012); Nalco Co. v. Chem-Mod, LLC, 883 F.3d

1337, 1350 (Fed. Cir. 2018)). Moreover, “[a] plaintiff is not required to plead infringement on an
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element-by-element basis.” Id. at 1352 (citing Nalco, 883 F.3d at 1350 (“[T]he Federal Rules of

Civil Procedure do not require a plaintiff to plead facts establishing that each element of an

asserted claim is met.”)). Indeed, to require an “element-by-element pleading standard for patent

infringement . . . is unsupported and goes beyond the standard the Supreme Court articulated in

Iqbal and Twombly.” Id. (citing Bell v. Twombly, 550 U.S. 544, 556 (2007)).

       Under Iqbal and Twombly, a plaintiff is required to “state a claim to relief that is

plausible on its face.” Twombly, 550 U.S. at 556. This plausibility standard is met when “the

plaintiff pleads factual content that allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(citing id.). “Specific facts are not necessary; the statement need only give the defendant fair

notice of what the claim is and the ground upon which it rests.” Disc Disease Sols. Inc. v. VGH

Sols., Inc., 888 F.3d 1256, 1260 (Fed. Cir. 2018) (internal quotation marks, citation, and

alterations omitted).

       Courts in this District have held plaintiffs to the same plausibility standard as the Federal

Circuit under Iqbal and Twombly and refused to dismiss patent claims that did not set forth an

explicit element-by-element analysis. See, e.g., USC IP P’ship, L.P. v. Facebook, Inc., No. 6:20-

cv-00555-ADA, 2021 WL 3134260, at *1 (W.D. Tex. July 23, 2021) (citing Iqbal, 556 U.S. at

678 for standard that plaintiff only needs to plead “factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged”) (emphasis

added); Inhale, Inc. v. Gravitron, LLC, No. 1-18-CV-762-LY, 2018 WL 7324886, at *2 (W.D.

Tex. Dec. 10, 2018) (denying motion to dismiss even though “complaint d[id] not expressly state

that the accused products ‘meet each and every claim’” of the patent-in-suit); Encoditech, LLC v.

Citizen Watch Co. of Am., Inc., No. SA-18-CV-1335-XR, 2019 WL 2601347, at *4 (W.D. Tex.


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June 25, 2019) (recognizing the plausibility standard “for stating a claim of direct infringement

set forth by the Federal Circuit in Disc Disease” is a “relatively low threshold”).

       Notably, Google does not cite a single case from this District in support of its Motion.2

IV.    ARGUMENT

       A.      Google’s Articulation of the Plausibility Pleading Standard Runs Afoul
               of the Case Law of the Federal Circuit and This Court
       As stated above, both the Federal Circuit and this Court have rejected the notion that, in

order to state a claim for patent infringement, a plaintiff must provide an element-by-element

analysis of infringement under the plausibility standard set out in Twombly and Iqbal. Yet, that is

exactly what Google argues is required. See Mot. at 2 (“The complaint must ‘provid[e] facts

sufficient to create a plausible inference that each element of the [asserted] claim is infringed by

the accused products.’”) (citations omitted) (emphasis in original). Indeed, Google goes as far as

to map each of the elements to claim 1 of the ’824 patent and compare it to WAG’s allegations in

the Complaint. Id. at 4–6. In essence, Google has attempted to convert WAG’s Complaint into a

claim chart. Google then concludes that the claim chart it itself has fashioned “demonstrates, for

the majority of claim 1’s limitations, [that] Plaintiff merely concludes—without any supporting

evidence or citations to features and functionalities of the ‘YouTube Streaming Services’—that

this vague category of services infringe [sic].” Id. at 6 (emphasis in original). This element-by-

element analysis is precisely what the Federal Circuit and this Court have instructed is not

required under the plausibility standard. This unilateral and premature effort to force WAG to

serve infringement contentions at the time of the Complaint is also in contradiction to this

Court’s Standing Order Governing Proceedings – Patent Cases, which sets the timing for service


2
  Google does reference the CRSR Related Case, WAG Acquisition, L.L.C. v. Amazon.com, Inc.,
No. 6:21-cv-00815-ADA, that is pending before this Court, but for a factual proposition rather
than a legal one.
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of infringement contentions to be one week prior to the date of the CMC conference. Dkt. No. 16

at 1.

        B.     WAG’s Complaint Satisfies the Plausibility Pleading Standard
               Regarding Direct Infringement
        As explained above, Google misapprehends the plausibility standard to which WAG’s

Complaint should be measured. Applying the proper standard, which does not require an

element-by-element analysis as Google sets out, WAG has provided ample “factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Iqbal, 556 U.S. at 678.

        WAG’s Complaint recites factual commonalities between the elements of the asserted

claims of the patents-in-suit and the accused instrumentalities, which if true very plausibly

support an inference that Google infringes. Despite the factual matter alleged, Google

myopically focuses on WAG’s recitation of claim language to the exclusion of the actual

evidence. It artificially isolates WAG’s allegations into certain claim elements and ignores what

those factual allegations mean and the fundamental nature of the technology required by other

claim elements.

               1.      In Focusing on WAG’s Quotation of Claim Language, Google Literally
                       and Figuratively Minimizes WAG’s Actual Evidence of Infringement

        The following is an excerpt from Google’s claim chart fashioned from WAG’s Complaint

that purports to show claim element 1(c)3:




3
 The claim element numbers and letters used herein refer to the numbers and letters Google
designated in its Motion at pp. 4–6.
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Mot at 4–5.

        While the bolded font shows what Google purports to be the “overlap between the

language of the claim and Plaintiff’s complete allegations for those limitations,” WAG has

highlighted actual evidence of infringement WAG supplied—such as the “range” and “rn”

request numbers that the Complaint alleges Google systematically uses in its client media

element requests—that goes to the heart of the allegations and that Google completely ignores.

Id. at 4.

        Included in the highlighted information is Google’s reproduction of the screenshot WAG

included in its Complaint, which Google has minimized such that the evidence of infringement

therein is no longer legible. The screenshot, reproduced in full below, provides information

regarding Google’s infringing activities, explained in greater detail below, including that the

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source of the video is “youtube”:




Complaint ¶ 25.

        This example is just one of many that WAG provides in support of its allegations of

Google’s infringement of the three patents-in-suit. See Complaint ¶¶ 12–21 (comparing the

claimed inventions with the accused systems); ¶¶ 25–26 (pertaining to Google’s infringement of

claim 1 of the ’824 patent); ¶¶ 35–36 (pertaining to Google’s infringement of claim 1 of the ’594

patent); ¶¶ 44–45 (pertaining to Google’s infringement of claim 1 of the ’636 patent). Thus,

Google’s claim that WAG has “fail[ed] to provide any evidence or support for its allegations” is

plainly false. Mot. at 7.

                2.      Google Artificially Isolates Certain of WAG’s Infringement Evidence into
                        a Single Claim Element

        While WAG does not agree that Google’s transformation of WAG’s infringement

allegations in its Complaint was in any way appropriate or in keeping with this Court’s orders or

proceedings, WAG does protest the manner in which Google disingenuously divvied up WAG’s


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allegations.

       Returning again to claim element 1(c) shown above, by artificially isolating WAG’s

evidence into this single claim element, Google misleadingly suggests that it is only pertinent to

claim element 1(c). Of course, the claim elements are interrelated, and the information presented

above also demonstrates Google’s practice of other claim elements, such as “distributing over the

Internet, from a server system to one or more user systems, a pre-recorded audio or video

program stored in digitally encoded form on computer-readable media” (claim element 1(p)),

“reading, by at least one computer of the server system, the pre-recorded audio or video program

from the computer-readable media” (claim element 1(a)), “supplying, at the server system, media

data elements representing the program, each media data element comprising a digitally encoded

portion of the program and having a playback rate” (claim element 1(b), shown, inter alia, by the

video being in “mp4” format. Complaint ¶ 25. It is evident on the face of the figure that the

captured requests and responses are taken from an actual dialog between a user computer and a

server system, conducted over the Internet, concerning units of video/mp4 type data (each with

corresponding “range” and “rn” serial identifiers, the length of the unit, its duration, the source

from which it came, etc.). The allegations on the face of the Complaint reflect a process of

transmitting a stream by breaking it into serially identified units and then delivering the stream

by responding to sequential requests for the units for recreating the streaming client, which goes

to the heart of what is alleged. In sum, there is a wealth of information conveyed that Google no

doubt fully appreciates all too well, yet would have this Court simply ignore.

               3.      Google Ignores the Fundamental Nature of the Technology Required by
                       Other Claim Elements

       Notably, Google does not identify any particular element for which WAG allegedly fails

to provide supporting evidence. Cf. Bot M8, 4 F.4th at 1354 (dismissing claims with respect to

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one patent at issue where complaint failed to allege facts sufficient to infer that “the game

program and mutual authentication program are stored together”) (internal quotation marks and

citations omitted) (emphasis in original). Rather, Google makes vague blanket statements

regarding the alleged absence of support “for the majority of claim 1’s limitations” (Mot. at 6) or

allegedly “failing to provide any evidence or support for [WAG’s] allegations” (Mot. at 7)

(emphasis added). This is because Google cannot make such a claim. The technology recited by

many of the claim elements for which WAG allegedly lacks evidence is relatively

straightforward. For example, many of the claim elements discuss a server system. Google does

not deny that the YouTube Streaming Services comprise a server, because of course it cannot.

Again, the provided figure clearly shows a series of requests (one of which is highlighted, along

with a panel showing the details of the request) going to “googlevideo.com.”

       Furthermore, Google’s motion does not address any of the specifics of Count II, which

specifically lays out details of the infringing client-side JavaScript software that Google provides

to users, which sends sequential HTTP GET requests for media data elements, by the serial IDs

assigned to those elements, referencing the same diagram presented in the first Count (which

shows the client requests referred to in Count II, and the serial identifiers, as well as the

responses with the elements having those identifiers, pertaining to Counts I and III (as well as

Count II).

       The Complaint also recites as factual assertions the observation that the communications

were conducted over a line having a data rate in excess of the playback rate of the media, and

that each sending was as fast as the connection would allow (which can be understood as

alleging that nothing was observed to be throttling the line speed). Complaint ¶ 26. This

paragraph can also be understood to allege that each and every piece of streaming data that


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arrived at the user side came in response to a corresponding preceding request, i.e., that the

communication is request-driven (i.e., via “pull” as separately alleged in ¶ 19), and as such sent

without depending on some sequencing or timing necessarily performed on the server (as

correspondingly alleged in ¶ 26).

       Authority from the Federal Circuit and this case confirms the sufficiency of WAG’s

allegations. See Disc Disease, 888 F.3d at 1260 (reversing district court’s dismissal under Rule

12(b)(6) where complaint attached photos of accused products’ packaging as exhibits and alleged

they met “each and every element of at least one claim of” the patents at issue, where the case

“involve[d] a simple technology”); Inhale, 2018 WL 7324886, at *2 (denying motion to dismiss

where complaint “identifie[d] the accused product by name and by attached photos,” where the

“case involve[d] simple technology”) (citing Disc Disease, 888 F.3d at 1259–60); see also

InCom Corp. v. Walt Disney Co., No. CV15-3011 PSG (MRWx), 2016 WL 4942032, at *3 (C.D.

Cal. Feb. 4, 2016) (denying motion to dismiss where “Plaintiff . . . stated a plausible claim for

direct infringement by specifically identifying Defendants’ products and alleging that they

perform the same unique function as Plaintiff’s patented system”) (citations omitted).

               4.      WAG’s Complaint Against Amazon Is of No Moment

       In support of Motion, Google presents WAG’s claims in its complaint against Amazon

and certain similarities between the allegations therein and those in WAG’s Complaint against

Google. Mot. at 6–7. WAG’s complaint against Amazon is not directly relevant to the claims

against Defendants, but WAG notes that, in its case, Amazon simply answered the complaint

instead of filing a motion to dismiss. Answer, WAG Acquisition, L.L.C. v. Amazon.com, Inc., No.

6:21-cv-00815-ADA (W.D. Tex. Nov. 1, 2021) (ECF No. 22). Thus, it appears the allegations of

direct infringement were sufficient to put Amazon on notice as to what it must defend. Of course,

any similarity between the complaints merely points to the similarity of the functionality of
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Amazon’s and Google’s accused systems.4

               5.      Google’s Case Law Is Inapposite

       Given the inaccuracy of Google’s claims regarding the sufficiency of WAG’s factual

allegations, its case law is correspondingly inapposite. Much of the authority Google cites relates

to cases where patentees copied the claim language without stating anything more. See Promos

Techs., Inc. v. Samsung Elecs. Co., No. 18-307-RGA, 2018 WL 5630585, at *4 (D. Del. Oct. 31,

2018) (“Plaintiff’s Complaint substantially mirrors the claim language in the [patents at issue]”

without “mov[ing] beyond the legal conclusions that Samsung DRAM products infringe.”);

North Star Innovations, Inc. v. Micron Tech., Inc., No. 17-506-LPS-CJB, 2017 WL 5501489, at

*2 (D. Del. Nov. 16, 2017) (“[T]he FAC does little more than parrot back the language of these

claim elements and then states that the accused product is comprised of such elements.”);

SIPCO, LLC v. Streetline, Inc., 230 F. Supp. 3d 351, 353 (D. Del. 2017) (finding two factual

allegations of patent ownership and defendants’ sale of certain products were “insufficient to

plausibly allege patent infringement”); Macronix Int’l Co. v. Spansion Inc., 4 F. Supp. 3d 797,

804 (E.D. Va. 2014) (“[T]he FAC simply alleges that each element of a cited claim is infringed

and then parroted [sic] the claim language for each element.”); NovaPlast Corp. v. Inplant, LLC,

No. 20-7396 (KM) (JBC), 2021 WL 389386, at *8 (D.N.J. Feb. 3, 2021) (“[T]he Complaint

alleges in a conclusory manner that the Accused Products ‘meet[ ] the limitations of one or more

claims of the ‘213 Patent.’”) (citation omitted).

       As demonstrated above, WAG’s factual allegations in its Complaint satisfy the Iqbal and

Twombly plausibility standard for all three patents-in-suit. While WAG does provide a


4
  The Court might also ask whether the similarities in the respective patterns of alleged
infringement by Google and Amazon have anything to do with compliance with a common
industry standard. It should be no surprise if that is the case – a subject that is indeed addressed
in WAG’s infringement contentions.
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screenshot in support of its allegations, unlike the plaintiff in Chapterhouse, WAG “allege[s]

how the screenshots meet the text of the exemplary claim.” Chapterhouse, LLC v. Shopify, Inc.,

No. 2:18-CV-00300-JRG, 2018 WL 6981828, at *2 (E.D. Tex. Dec. 10, 2018). And unlike the

plaintiff in Diem, WAG does not contest the applicability of this standard. Diem LLC v.

BigCommerce, Inc., No. 6:17-CV-186 JRG-JDL, 2017 WL 9935521, at *2 (E.D. Tex. May 11,

2017) (“Diem’s entire Response argues that the ‘heightened pleading standard’ required by Lyda,

i.e., the Iqbal and Twombly pleading standard, does not apply to its claims.”) (citation omitted).

       Other of Google’s cited authority runs counter to the Federal Circuit’s recent reiteration

of the plausibility standard required in patent cases. Compare People.ai, Inc. v. SetSail Techs.,

Inc., No. C 20-09148 WHA, 2021 WL 2333880, at *3 (N.D. Cal. June 8, 2021) (requiring “a

complaint [to] explain how or why an accused product infringes every element of every asserted

claim or explain why that cannot be shown at this stage”) (internal quotation marks and citation

omitted) with Bot M8, 4 F.4th at 1352 (“Here, the district court instructed counsel for Bot M8

that it must explain in [the] complaint every element of every claim that you say is infringed

and/or explain why it can’t be done. We disagree with the district court’s approach and reiterate

that a plaintiff need not prove its case at the pleading stage.”) (internal quotation marks and

citations omitted).

       The other cases Google cites are no less inapposite. In TeleSign, the court dismissed the

complaint at issue where it failed to “plausibly allege that any one product produced by

Defendant performs all elements.” TeleSign Corp. v. Twilio, Inc., No. CV 16-2106 PSG (SSx),

2016 WL 4703873, at *3 (C.D. Cal. Aug. 3, 2016). Unlike the plaintiff in TeleSign, WAG has

alleged sufficient factual content to support its claims that Google has infringed all three patents-

in-suit via the YouTube Streaming Services. While Google argues that there is some ambiguity


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as to what is meant by YouTube Streaming Services, it does not identify any other product or

service WAG has accused of infringement—because no such product or service exists to date.

Additionally, in Metricolor, the court found that at least one claim limitation was not present in

the accused products because it was directly contradicted by the form of the products itself.

Metricolor LLC v. L’Oreal S.A., 791 F. App’x 183, 188 (Fed. Cir. 2019) (“[N]othing in the

complaint shows the Accused Products contain the ‘air-tight reclosing seal’ / ‘air-tight reclosable

seal’ required by the independent claims. . . . To the contrary, . . . the Redken pH-Bonder product

has an ‘open hole at the base of the bottle,’ plainly contradicting its allegation of an ‘air-tight’

seal.”); see also Bot M8, 4 F.4th at 1354 (dismissing claims with respect to one patent at issue

where allegations “reveal[ed] an inconsistency that [wa]s fatal to its infringement case”). Google

has identified no such contradiction with respect to any of the claim limitations at issue in this

case.

        C.     WAG’s Complaint Sufficiently Identifies the Accused Services and/or
               Systems
        Google’s argument regarding WAG’s alleged failure to sufficiently identify the accused

services and/or systems similarly fails. Google argues that WAG’s definition of “YouTube

Streaming Services” is “vague” and “ambiguous” without stating what about the detailed

definition is vague or ambiguous. Mot. at 8–9 (citing Complaint ¶ 2). Indeed, WAG’s definition

does exactly what Google complains it does not—it “identif[ies] specific services [and] systems”

that infringe the patents-in-suit, i.e., “video-on-demand and live streaming programming, which

Defendants provide via the Internet in the United States and worldwide.” Complaint ¶ 2. Rather

than stopping there, WAG describes the services and systems further by adding that they are “for

pre-recorded and live programming, delivered to desktop, tablet, smartphone, smart TV,

streaming stick, and other streaming device and media player platforms, by way of [Defendants’]

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streaming services.” Id. This description provides more than enough detail for Google to

ascertain what services and/or systems are being accused of infringement.

       Furthermore, turning once again to the provided graphic, the Court can see

“www.youtube.com” in the “Structure” tab of the graphic, and Google cannot pretend not to

appreciate that this reflects that the request depicted resulted from clicking on a video on

Google’s flagship video site, www.youtube.com. It is reasonable to conclude that the Complaint

is representing what is observable for Google’s main product on this site, i.e., any of its millions

of prerecorded videos. In addition, there is another count directed at the “live” video also

provided over youtube.com, which anyone can casually verify by scrolling down to “Live” on

the YouTube home page. The Complaint can fairly be read to allege that all of this activity

infringes (which is indeed the allegation). The Complaint also identifies other forms in which the

same base services are provided, for example, “tablet, smartphone, smart TV, streaming stick,

and other streaming device and media player platforms.” It should be evident that the thrust of

the allegations is that these are just different packagings for delivering substantially the same

prerecorded and live streaming products via the same infringing methods as employed on

youtube.com.

       Indeed, in another case brought against Google before this Court, the plaintiff described

“Defendants’ infringing products and services” as “products and services for receiving,

converting, and sharing streaming video, including those marketed as Youtube [sic].”

VideoShare, LLC v. Google LLC, No. 6-19-CV-00663-ADA, 2020 WL 6365543, at *1 (W.D.

Tex. May 4, 2020). In that case as well, Google brought a pre-answer motion to dismiss. Id.

However, in that case, Google did not contest the sufficiency of plaintiff’s identification of the

allegedly infringing products and services. Rather, Google only challenged the complaint on


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claim preclusion grounds. Id.

       The case law Google cites in support is irrelevant at best. In Patent Harbor, the court

found that the plaintiff’s “identifi[cation] of a specific category of products it believe[d] were

manufactured using the patented method” was sufficient “to put Defendants on notice as to what

they must defend.” Patent Harbor, LLC v. DreamWorks Animation SKG, Inc., No. 6:11-cv-229,

2012 WL 9864381, at *4 (E.D. Tex. July 27, 2012) (citations omitted). In Van De Vliert, the

court found that, where the plaintiff’s entire infringement allegations comprised two sentences, it

was unclear whether a “‘Swellable Packer’ comprise[d] the entire claimed system or [wa]s

simply a component of the allegedly infringing system.” Van De Vliert v. Tam Int’l, Inc., No.

6:15-cv-135-JRG, 2015 WL 6745811, at *1–2 (E.D. Tex. Oct. 30, 2015). There is no such

confusion here, where WAG has unambiguously defined YouTube Streaming Services to be the

infringing system.

       The remainder of Google’s cases pertain to situations where the defendants had multiple

product offerings, but the plaintiffs’ broad description of accused products left ambiguity in what

particular products were being identified. For instance, in FootBalance, the court found that the

identification of “[defendant]’s custom insoles” was insufficient where such products

“encompass[ed] essentially [defendant]’s entire business.” FootBalance Sys. Inc. v. Zero Gravity

Inside, Inc., No. 15-CV-1058 JLS (DHB), 2016 WL 903681, at *4 (S.D. Cal. Feb. 8, 2016). In

Lexington Luminance, the court found the accused products were not sufficiently identified

where the plaintiff identified one LED bulb by name and described the remainder as “other

similar products, which perform substantially the same function as the devices embodied in one

or more claims of the '851 Patent in substantially the same way to achieve the same result.”

Lexington Luminance LLC v. Serv. Lighting & Elec. Supplies, Inc., No. 3:18-CV-01074-K, 2018


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WL 10425908, at *2 (N.D. Tex. Oct. 9, 2018). Similarly, in Anza Technology, the court found

that the complaint “vaguely accuses a general, broad category of ‘electronics hardware products’

sold under Defendant’s brand as being manufactured in part by using the claimed method.” Anza

Tech., Inc. v. D-Link Sys., Inc., No. 3:16-cv-01263-BEN-AGS, 2016 WL 8732647, at *4 (S.D.

Cal. Nov. 4, 2016) (internal quotation marks and citation omitted) (emphasis in original).

        Here, however, there is not an array of completely disparate products, such as insoles,

LED bulbs, or electronics hardware products, all in one case. YouTube’s business is streaming,

and WAG’s Complaint describes those YouTube Streaming Services it believes infringe the

patents-in-suit.

        In this way, the present case is more analogous to IP Communication Solutions, wherein

the plaintiff’s complaint was “directed to an undefined V[o]IP server system that supports

Viber’s application.” IP Commc’n Sols., LLC v. Viber Media (USA) Inc., No. 16-134-GMS, 2017

WL 1312942, at *2 (D. Del. Apr. 5, 2017) (internal quotation marks and citation omitted). The

court denied the defendant’s motion to dismiss for failure to state a claim, recognizing that,

unlike much of the case law cited by the defendant, “the patent-in-suit [wa]s directed to methods

and systems for providing a service.” Id. at *3 (citation omitted) (emphasis in original). The court

elaborated that “[the patent-in-suit] is not directed to a specific product, but instead, to a server

system that comprises a number of components. . . . To require that [plaintiff] name a specific

infringing product would be nonsensical in this instance. It is unclear how [plaintiff] can be any

more specific about what aspects of [defendant]’s technology infringe its patent when [plaintiff]

likely does not have access to [defendant]’s computer code.” Id. The court further stated that the

defendant “Viber provides a mobile VoIP client application program. The program is supported

by a server that performs a number of functions . . . . Accordingly, Viber cannot persuasively


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argue that it is not on notice of what it must defend in this suit.” Id. (citations omitted). Here, as

in IP Communication Solutions, Google cannot argue that it is not on notice of what “streaming

services” it must defend.

        D.      The Court Should Deny Google’s Motion as Moot Because by the Time
                WAG Files This Opposition Brief, WAG Will Have Served Its
                Infringement Contentions
        As stated above, on the day WAG files this opposition to Google’s Motion, November

15, 2021, WAG will also have served its preliminary infringement contentions on Google. Thus,

this Court should deny Google’s Motion as moot because any deficiencies would necessarily be

addressed by WAG’s infringement contentions. See Parity Networks, LLC v. Cisco Sys., Inc.,

No. 6:19-CV-00207-ADA, 2019 WL 3940952, at *2 (W.D. Tex. July 26, 2019) (“[T]he Court

founds that Plaintiff’s pleadings are sufficient and that any deficiencies will necessarily be

addressed when Plaintiff serves its infringement contentions as is required.”); see also MV3

Partners LLC v. Roku, Inc., No. W-18-CV-00308-ADA (W.D. Tex. Jan. 8, 2019) (ECF No. 35)

(denying motion to dismiss for failure to state a claim in view of the fact that “the Court will

enter a scheduling order that sets a deadline for Plaintiff to proffer its infringement contentions,

which the Court anticipates Plaintiff will provide in good faith”).

        E.      In the Alternative, the Court Should Grant WAG Leave to Amend Its
                Complaint
        In the event this Court finds the infringement allegations in WAG’s Complaint do not

meet the plausibility standard set out in Iqbal and Twombly or that they do not sufficiently

identify the accused services and/or systems, WAG requests that the Court grant it leave to

amend its Complaint to correct any deficiencies perceived by the Court. WAG asserts that leave

to amend at this early stage of the case would “enhance[] the case’s efficiency and will hasten

the controversy’s resolution under the law.” del Rocio Barbarene-Rovira v. Kuiper Dairy, LLC,

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No. 6-20-CV-00250-ADA, 2020 WL 10282845, at *3 (W.D. Tex. Aug. 6, 2020); see also Frantz

Design, Inc. v. Diamond Orthotic Lab., LLC, No. 1:19-CV-00970-ADA, 2020 WL 10314642, at

*2 (W.D. Tex. May 26, 2020) (“Absent prejudice, or a strong showing of any of the remaining

[factors], there exists a presumption under Rule 15(a) in favor of granting leave to amend.”)

(internal quotation marks and citation omitted) (alteration in original).

V.       CONCLUSION

         For the foregoing reasons, WAG respectfully requests that the Court deny Google’s

motion, or in the alternative, grant WAG leave to amend its Complaint.

Dated:    November 15, 2021

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                                CERTIFICATE OF SERVICE

         On November 15, 2021, I certify that I caused a copy of WAG Acquisition, L.L.C.’s

Opposition to Defendants’ Motion for Dismissal of Plaintiff’s Complaint Pursuant to Fed. R.

Civ. P. 12(b)(6) for Failure to State a Claim to be served upon counsel of record for Defendants

via ECF.

Dated:     November 15, 2021

                                                /s/ Brandon R. Oates
                                                Brandon R. Oates




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